                             Case 20-11550-CSS                       Doc 1        Filed 06/14/20             Page 1 of 22


Fill in this information to identify the case:

United States Bankruptcy Court for the:
                              District of Delaware
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   04/20
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               8 North, LLC


                                                 N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          370 17th Street
                                          Number            Street                                    Number         Street

                                          Suite 5300
                                                                                                      P.O. Box
                                          Denver,                       Colorado      80202
                                          City                            State      Zip Code         City                         State      Zip Code


                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          Denver County
                                          County                                                      Number         Street




                                                                                                      City                         State      Zip Code




5. Debtor’s website (URL)                 www.extractionog.com

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:



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Debtor            8 North, LLC                                                  Case number (if known)
           Name



                                         A. Check One:
7.   Describe debtor’s business
                                         ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                         ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                         ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                         ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                         ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                         ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                         ☒ None of the above

                                         B. Check all that apply:
                                         ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                         ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                         ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                         2111

8. Under which chapter of the            Check One:
   Bankruptcy Code is the
   debtor filing?                        ☐ Chapter 7

                                         ☐ Chapter 9

      A debtor who is a “small           ☒ Chapter 11. Check all that apply:
      business debtor” must
                                                           ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      check the first sub-box. A                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      debtor as defined in §                                 affiliates) are less than $2,725,625. If this sub-box is selected, attach the most recent
      1182(1) who elects to                                  balance sheet, statement of operations, cash-flow statement, and federal income tax
      proceed under subchapter                               return or if any of these documents do not exist, follow the procedure in 11 U.S.C. §
      V of chapter 11 (whether or                            1116(1)(B).
      not the debtor is a “small
                                                           ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1). Its aggregate noncontingent
      business debtor”) must                                 liquidated debts (excluding debts owed to insiders or affiliates) are less than $7,500,000
      check the second sub-box.                              and it chooses to proceed under Subchapter V of Chapter 11. If this sub-box is
                                                             selected, attach the most recent balance sheet, statement of operations, cash-flow
                                                             statement, and federal income tax return or if any of these documents do not exist,
                                                             follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                           ☐ A plan is being filed with this petition.

                                                           ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).
                                                           ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                             Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                           ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                         ☐ Chapter 12
9. Were prior bankruptcy cases        ☒ No
   filed by or against the debtor     ☐ Yes.    District                           When                       Case number
   within the last 8 years?                                                                 MM/DD/YYYY
     If more than 2 cases, attach a             District                           When                       Case number
     separate list.                                                                         MM/DD/YYYY




     Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
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    Debtor           8 North, LLC                                                       Case number (if known)
              Name



    10. Are any bankruptcy cases            ☐ No
        pending or being filed by a         ☒ Yes.                                                                      Relationship     Affiliate
                                                         Debtor        See Rider 1
        business partner or an
        affiliate of the debtor?                         District     District of Delaware
       List all cases. If more than 1,                                                                                  When             06/14/2020
       attach a separate list.                         Case number, if known _______________________                                     MM / DD / YYYY

    11. Why is the case filed in this      Check all that apply:
        district?
                                           ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                           ☐    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


    12. Does the debtor own or have        ☒ No1
        possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        property or personal property
        that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
        attention?
                                                     ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                           safety.
                                                           What is the hazard?

                                                     ☐     It needs to be physically secured or protected from the weather.

                                                     ☐      It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                            (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                            other options).
                                                     ☐     Other


                                                     Where is the property?
                                                                                             Number       Street



                                                                                             City                              State       Zip Code



                                                     Is the property insured?
                                                     ☐ No

                                                     ☐ Yes.         Insurance agency

                                                                    Contact name
                                                                    Phone




                           Statistical and administrative information

    13. Debtor's estimation of            Check one:
        available funds
                                          ☒ Funds will be available for distribution to unsecured creditors.
                                          ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.




1      The Debtors engage in the exploration, development, and production of oil and natural gas. Certain Debtors possess or operate certain real properties
       with existing contamination where remediation efforts are presently underway. Although the Debtors are not aware of any definition of “imminent or
       identifiable hazard” as used in this form, the Debtors do not believe they own or possess any real or personal property (including the aforementioned
       properties) that poses or is alleged to pose a threat of imminent and identifiable harm to the public health or safety.

       Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
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    Debtor           8 North, LLC                                                      Case number (if known)
              Name



    14. Estimated number of              ☐      1-49                      ☐      1,000-5,000                        ☒    25,001-50,000
        creditors2                       ☐      50-99                     ☐      5,001-10,000                       ☐    50,001-100,000
                                         ☐      100-199                   ☐      10,001-25,000                      ☐    More than 100,000
                                         ☐      200-999



    15. Estimated assets                 ☐      $0-$50,000                ☐      $1,000,001-$10 million             ☐    $500,000,001-$1 billion
                                         ☐      $50,001-$100,000          ☐      $10,000,001-$50 million            ☒    $1,000,000,001-$10 billion
                                         ☐      $100,001-$500,000         ☐      $50,000,001-$100 million           ☐    $10,000,000,001-$50 billion
                                         ☐      $500,001-$1 million       ☐      $100,000,001-$500 million          ☐    More than $50 billion

    16. Estimated liabilities            ☐     $0-$50,000                  ☐     $1,000,001-$10 million             ☐    $500,000,001-$1 billion
                                         ☐     $50,001-$100,000            ☐     $10,000,001-$50 million            ☒    $1,000,000,001-$10 billion
                                         ☐     $100,001-$500,000           ☐     $50,000,001-$100 million           ☐    $10,000,000,001-$50 billion
                                         ☐     $500,001-$1 million         ☐     $100,000,001-$500 million          ☐    More than $50 billion

                      Request for Relief, Declaration, and Signatures

    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
               $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

    17. Declaration and signature of       The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
        authorized representative of       petition.
        debtor
                                           I have been authorized to file this petition on behalf of the debtor.
                                           I have examined the information in this petition and have a reasonable belief that the information is true and
                                           correct.

                                     I declare under penalty of perjury that the foregoing is true and correct.

                                           Executed on         06/14/2020
                                                                MM/ DD / YYYY


                                                                                                                 Matthew R. Owens
                                                Signature of authorized representative of debtor                Printed name

                                                Title     President and Chief Executive Officer




    18. Signature of attorney                  /s/ Marc R. Abrams                                           Date        06/14/2020
                                                Signature of attorney for debtor                                        MM/DD/YYY



                                                Marc R. Abrams
                                                Printed name
                                                Whiteford, Taylor & Preston LLC
                                                Firm name
                                                405 North King Street, Suite 500
                                                Number                  Street
                                                Wilmington                                                           DE                19801-3700
                                                City                                                                 State               ZIP Code
                                                (302) 353-4144                                                       mabrams@wtplaw.com
                                                Contact phone                                                           Email address
                                                955                                                Delaware
                                                Bar number                                          State


2      The Debtors’ estimated assets, liabilities, and number of creditors noted here are provided on a consolidated basis.

       Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                          page 4
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 Fill in this information to identify the case:
                                                                        ,
 United States Bankruptcy Court for the:
                              District of Delaware
                                       (State)                                                       ☐ Check if this is an
 Case number (if known):                             Chapter   11                                        amended filing


                                                    Rider 1
                     Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the District of Delaware for relief under chapter 11 of title 11 of the United States Code.
The Debtors have moved for joint administration of these cases under the case number assigned to the chapter 11
case of Extraction Oil & Gas, Inc.

 •    Extraction Oil & Gas, Inc.
 •    7N, LLC
 •    8 North, LLC
 •    Axis Exploration, LLC
 •    Extraction Finance Corp.
 •    Mountaintop Minerals, LLC
 •    Northwest Corridor Holdings, LLC
 •    Table Mountain Resources, LLC
 •    XOG Services, LLC
 •    XTR Midstream, LLC
                   Case 20-11550-CSS            Doc 1        Filed 06/14/20     Page 6 of 22



                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                                         )
    In re:                                               )      Chapter 11
                                                         )
    8 NORTH, LLC,                                        )      Case No. 20-___________(___)
                                                         )
                             Debtor.                     )
                                                         )

                                   LIST OF EQUITY SECURITY HOLDERS1

             Debtor                Equity Holders              Address of Equity Holder       Percentage of
                                                                                               Equity Held
                                                             370 17th Street
                               Extraction Oil & Gas,
    8 North, LLC                                             Suite 5300                            100%
                               Inc.
                                                             Denver, CO 80202




1      This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal
       Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such equity as
       of the date of commencement of the chapter 11 case.
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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                      )
 In re:                                               )      Chapter 11
                                                      )
 8 NORTH, LLC,                                        )      Case No. 20-___________(___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                     Shareholder                             Approximate Percentage of Shares Held

     Extraction Oil & Gas, Inc.                                                  100%
                                                             Case 20-11550-CSS                            Doc 1        Filed 06/14/20                      Page 8 of 22



      Fill in this information to identify the case:
      Debtor name: Extraction Oil & Gas, Inc. et al.
      United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                                        
      Case number (If known): ______________                                                                                                                                  Check if this is an amended
                                                                                                                                                                             filing


      Official Form 204
      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest
      Unsecured Claims and Are Not Insiders                                       12/15
      A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is an insider, as
      defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured
      claims.
                                                                                                                                                                                               Amount of unsecured claim
                                                                                                                                                                              if the claim is fully unsecured, fill in only unsecured claim
                                                                                                                         Nature of the claim (for
                                                                                                                                                      Indicate if claim is       amount. If claim is partially secured, fill in total claim
                                                                                                                          example, trade debts,
Name of creditor and complete mailing address, including zip            Name, telephone number, and email address of                                     contingent,          amount and deduction for value of collateral or setoff to
                                                                                                                         bank loans, professional
                          code                                                        creditor contact                                                 unliquidated, or                         calculate unsecured claim.
                                                                                                                        services, and government
                                                                                                                                                           disputed                                Deduction for value
                                                                                                                                contracts)                                     Total claim, if
                                                                                                                                                                                                     of collateral or       Unsecured claim
                                                                                                                                                                             partially secured
                                                                                                                                                                                                          setoff
      2026 SENIOR NOTES (5.625%)                                     ATTN: CORPORATE, MUNICIPAL AND ESCROW SERVICES
      WELLS FARGO BANK, NATIONAL ASSOCIATION                         TITLE: TRUSTEE
 1    1445 ROSS AVENUE                                               PHONE: 605‐575‐6900                                 2026 SENIOR NOTES (5.625%)                                                                        $700,200,000
      SUITE 4300                                                     EMAIL: CHARLES.SCHARF@WELLSFARGO.COM
      DALLAS, TX 75202                                               FAX: 469‐729‐7638
      2024 SENIOR NOTES (7.375%)                                     ATTN: CORPORATE, MUNICIPAL AND ESCROW SERVICES
      WELLS FARGO BANK, NATIONAL ASSOCIATION                         TITLE: TRUSTEE
 2    1445 ROSS AVENUE                                               PHONE: 605‐575‐6900                                 2024 SENIOR NOTES (7.375%)                                                                        $400,000,000
      SUITE 4300                                                     EMAIL: CHARLES.SCHARF@WELLSFARGO.COM
      DALLAS, TX 75202                                               FAX: 469‐729‐7638
      LIBERTY OILFIELD SERVICES                                      ATTN: RON GUSEK
      950 17TH STREET, FLOOR 24                                      TITLE: PRESIDENT
 3                                                                                                                             TRADE PAYABLE                                                                                $26,959,856
      DENVER, CO 80202                                               PHONE: 720‐583‐6643
                                                                     EMAIL: RON.GUSEK@LIBERTYFRAC.COM
      KERR MCGEE GATHERING LLC                                       ATTN: VICKI HOLLUB
      KERR‐MCGEE OIL AND GAS ONSHORE LP                              TITLE: CEO & PRESIDENT
 4    C/O OCCIDENTAL OIL AND GAS CORP                                PHONE: 713‐215‐7000                                        JIB PAYABLE              UNLIQUIDATED                                                   AT LEAST $4,438,518
      5 GREENWAY PLAZA, SUITE 110                                    EMAIL: VICKI_HOLLUB@OXY.COM
      HOUSTON, TX 77046
      ROCKY MOUNTAIN MIDSTREAM                                       ATTN: ALAN S. ARMSTRONG
      C/O WILLIAMS                                                   TITLE: CEO & PRESIDENT
 5    ONE WILLIAMS CENTER                                            PHONE: 918‐574‐9375                                    GATHERING PAYABLE            UNLIQUIDATED                                                   AT LEAST $3,750,000
      PO BOX 2400                                                    EMAIL: ALAN.ARMSTRONG@WILLIAMS.COM
      TULSA, OK 74102‐2400
      GRIZZLY PETROLEUM                                              ATTN: RYAN MIDGETT
      5847 SAN FELIPE, SUITE 3000                                    TITLE: CFO
 6                                                                                                                         JIB A/R CREDIT BALANCE        UNLIQUIDATED                                                       $1,762,000
      HOUSTON, TX 77057                                              PHONE: 281‐408‐1467
                                                                     EMAIL: RYAN.MIDGETT@GRIZZLYENERGYLLC.COM
      FUNDTHROUGH USA INC                                            ATTN: STEVEN USTER
      3730 KIRBY DR., #1200                                          TITLE: CEO
 7                                                                                                                             TRADE PAYABLE                                                                                $1,426,297
      HOUSTON, TX 77098                                              PHONE: 800‐766‐0460
                                                                     EMAIL: STEVEN@FUNDTHROUGH.COM
      BLACK LABEL SERVICES INC                                       ATTN: DEAN RUCKER
      629 GYRFALCON CT, STE A                                        TITLE: CO‐CEO
 8                                                                                                                             TRADE PAYABLE                                                                                $1,397,657
      WINDSOR, CO 80550                                              PHONE: 970‐833‐5981
                                                                     EMAIL: DRUCKER@BLSOIL.COM
      USA COMPRESSION PARTNERS LP                                    ATTN: ERIC LONG
      111 CONGRESS AVENUE, SUITE 2400                                TITLE: PRESIDENT & CHIEF EXECUTIVE OFFICER
 9                                                                                                                             TRADE PAYABLE                                                                                $1,037,727
      AUSTIN, TX 78701                                               PHONE: 214‐378‐8651
                                                                     EMAIL: ELONG@USACOMPRESSION.COM
      RAISA II, LLC                                                  ATTN: LUIS A. RODRIGUEZ
      1560 BROADWAY STREET, SUITE 2050                               TITLE: CEO
 10                                                                                                                       POST‐CLOSE SETTLEMENT          UNLIQUIDATED                                                        $966,175
      DENVER, CO 80202                                               PHONE: 303‐854‐9141
                                                                     EMAIL: LRODRIGUEZ@RAISAENERGY.COM
      HALLIBURTON ENERGY SERVICES INC.                               ATTN: JEFF MILLER
      3000 N. SAM HOUSTON PKWY E.                                    TITLE: CEO & PRESIDENT
 11                                                                                                                            TRADE PAYABLE                                                                                 $893,054
      HOUSTON, TX 77032                                              PHONE: 281‐870‐4000
                                                                     EMAIL: JEFF.MILLER@HALLIBURTON.COM
    LASER OILFIELD SERVICES                                          ATTN: RICK MILLER
    2986 W 29TH ST.                                                  TITLE: PRESIDENT
 12                                                                                                                            TRADE PAYABLE                                                                                 $832,782
    UNIT 12                                                          PHONE: 970‐352‐4444
    GREELEY, CO 80631                                                EMAIL: NICOLE.H@LASEROILFIELD.COM
    COMMERCIAL FUNDING INC                                           ATTN: STEVE SALA
    170 S. MAIN STREET, SUITE 700                                    TITLE: GM
 13                                                                                                                            TRADE PAYABLE                                                                                 $784,507
    SALT LAKE CITY, UT 84101                                         PHONE: 888‐575‐6501
                                                                     EMAIL: SSALA@COMMERCIALFUND.COM
      RED DEER IRONWORKS USA INC                                     ATTN: ED DELARONDE
      6430 GOLDEN WEST AVENUE                                        TITLE: PRESIDENT
 14                                                                                                                            TRADE PAYABLE                                                                                 $725,176
      RED DEER, AB T4P 1A6                                           PHONE: 403‐343‐1141
                                                                     EMAIL: EDELARONDE@RDIRONWORKS.COM
      ENSIGN UNITED STATES DRILLING INC                              ATTN: R.H. (BOB) GEDDES
      1700 BROADWAY, SUITE 777                                       TITLE: PRESIDENT & COO
 15                                                                                                                            TRADE PAYABLE                                                                                 $706,986
      DENVER, CO 80290                                               PHONE: 303‐292‐1206
                                                                     EMAIL: BOB.GEDDES@ENSIGNENERGY.COM




Official Form 204                                                                                                                                                                                                                         Page 1
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Debtor __________________________                                                                                                                                   Case number (if known)_____________________________________




                                                                                                                                                                                      Amount of unsecured claim
                                                                                                                                                                     if the claim is fully unsecured, fill in only unsecured claim
                                                                                                                  Nature of the claim (for
                                                                                                                                             Indicate if claim is       amount. If claim is partially secured, fill in total claim
                                                                                                                   example, trade debts,
Name of creditor and complete mailing address, including zip      Name, telephone number, and email address of                                  contingent,           amount and deduction for value of collateral or setoff to
                                                                                                                  bank loans, professional
                          code                                                  creditor contact                                              unliquidated, or                         calculate unsecured claim.
                                                                                                                 services, and government
                                                                                                                                                  disputed                                Deduction for value
                                                                                                                         contracts)                                    Total claim, if
                                                                                                                                                                                            of collateral or       Unsecured claim
                                                                                                                                                                    partially secured
                                                                                                                                                                                                 setoff
      APEX COMPANIES LLC                                       ATTN: BRIAN BURKE
      15850 CRABBS BRANCH WAY, SUITE 200                       TITLE: CFO
 16                                                                                                                    TRADE PAYABLE                                                                                $694,458
      ROCKVILLE, MD 20855                                      PHONE: 301‐975‐0200
                                                               EMAIL: BBURKE@APEXCOS.COM
      PUMP MASTERS LLC                                         ATTN: RYAN SHERMAN
      3801 CANAL DRIVE                                         TITLE: PRESIDENT
 17                                                                                                                    TRADE PAYABLE                                                                                $636,789
      FORT COLLINS, CO 80524                                   PHONE: 970‐232‐9189
                                                               EMAIL: RYAN@PUMP‐MASTERS.COM
      RIMROCK ROYALTIES                                        ATTN: MURRAY KARP
      5956 SHERRY LANE, SUITE 825                              TITLE: CFO
 18                                                                                                                 GATHERING PAYABLE           UNLIQUIDATED                                                    AT LEAST $600,000
      DALLAS, TX 75225                                         PHONE: 970‐397‐6887
                                                               EMAIL: ACCOUNTING@RIMROCKENERGY.COM
      ELEMENT SERVICES LLC                                     ATTN: REILLY REED
      123 9TH AVENUE                                           TITLE: PRESIDENT
 19                                                                                                                    TRADE PAYABLE                                                                                $571,667
      GREELEY, CO 80631                                        PHONE: 719‐688‐8114
                                                               EMAIL: REILLY_00@HOTMAIL.COM
    INCEPTION LAW PLLC                                         ATTN: SCOTT C. KEARNEY, J.D.
    C/O KEARNEY, MCWILLIAMS & DAVIS                            TITLE: MANAGING MEMBER
 20                                                                                                                    TRADE PAYABLE                                                                                $567,835
    55 WAUGH, SUITE 150                                        PHONE: 720‐863‐4012
    HOUSTON, TX 77007                                          EMAIL: SKEARNEY@KMD.LAW
    ENSERVO CORPORATION                                        ATTN: IAN DICKINSON
    999 18TH ST.                                               TITLE: CEO & PRESIDENT
 21                                                                                                                    TRADE PAYABLE            UNLIQUIDATED                                                        $534,748
    SUITE 1925N                                                PHONE: 303‐333‐3678
    DENVER, CO 80202                                           EMAIL: IAN.DICKINSON@ENSERVCO.COM
    RANGER ENERGY SERVICES LLC                                 ATTN: DARRON M. ANDERSON
    800 GESSNER, SUITE 1000                                    TITLE: CEO
 22                                                                                                                    TRADE PAYABLE                                                                                $521,898
    HOUSTON, TX 77024                                          PHONE: 713‐935‐8900
                                                               EMAIL: DARRON.ANDERSON@RANGERENERGY.COM
      5280 S SERVICES                                          ATTN: JESSE JIMENEZ
      3801 CANAL DRIVE                                         TITLE: OPERATION MANAGER
 23                                                                                                                    TRADE PAYABLE                                                                                $513,759
      FORT COLLINS, CO 80524                                   PHONE: 970‐518‐6487
                                                               EMAIL: JESSE@5280SSERVICES.COM
      RICHMARK ENERGY PARTNERS                                 ATTN: JEANIE FOSTER
      5200 W. 20TH STREET                                      TITLE: CONTROLLER
 24                                                                                                                 SURFACE USE PAYABLE         UNLIQUIDATED                                                    AT LEAST $500,000
      GREELEY, CO 80634                                        PHONE: 970‐352‐9446
                                                               EMAIL: JEANIE@RICHMARK.CO.ZA
      THRU TUBING SOLUTIONS INC                                ATTN: ANDY FERGUSON
      11515 S. PORTLAND AVE.                                   TITLE: PRESIDENT
 25                                                                                                                    TRADE PAYABLE                                                                                $499,398
      OKLAHOMA CITY, OK 73170                                  PHONE: 405‐692‐1900
                                                               EMAIL: AFERGUSON@THRUTUBING.COM
    CROSSENERGY INC                                            ATTN: RUDY GARDEA
    1399 WATER VALLEY PARKWAY                                  TITLE: PRESIDENT
 26                                                                                                                    TRADE PAYABLE                                                                                $448,246
    SUITE 300                                                  PHONE: 930‐732‐0455
    WINDSOR, CO 80550                                          EMAIL: OFFICE@CROSSENERGY.CO
    RPS MC LLC                                                 ATTN: BETH ASAY
    801 A LOUGH DRIVE                                          TITLE: CONTROLLER
 27 RIVERTON, WY 82501                                         PHONE: 970‐523‐1507                                     TRADE PAYABLE                                                                                $436,496
                                                               EMAIL: BASAY@RPSERVICES.BIZ
                                                               FAX: 970‐523‐0297
    PATTERSON UTI DRILLING COMPANY LLC                         ATTN: WILLIAM A. (ANDY) HENDRICKS, JR.
    10713 WEST SAM HOUSTON PARKWAY NORTH                       TITLE: CEO & PRESIDENT
 28 SUITE 800                                                  PHONE: 281‐765‐7100                                     TRADE PAYABLE                                                                                $424,401
    HOUSTON, TX 77064                                          EMAIL: ANDY.HENDRICKS@PATENERGY.COM
                                                               FAX: 281‐765‐7175
      NATIONAL OILWELL VARCO LP                                ATTN: CLAY WILLIAMS
      7909 PARKWOOD CIR DR                                     TITLE: CEO & PRESIDENT
 29                                                                                                                    TRADE PAYABLE                                                                                $410,033
      HOUSTON, TX 77036                                        PHONE: 713‐346‐7606
                                                               EMAIL: CLAY.WILLIAMS@NOV.COM
      MERCURIA                                                 ATTN: SCOTT PLEUS
                                                                                                                                                CONTINGENT,
      20 EAST GREENWAY PLAZA, SUITE 650                        TITLE: COO
 30                                                                                                                 DERIVATIVE LIABILITY       UNLIQUIDATED,                                                     UNDETERMINED
      HOUSTON, TX 77046                                        PHONE: 832‐209‐2400
                                                                                                                                                 DISPUTED
                                                               EMAIL: SCOTTPLEUS@MERCURIA.COM




Official Form 204                                                                                                                                                                                                              Page 2
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                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE

                                                         )
    In re:                                               )    Chapter 11
                                                         )
    8 NORTH, LLC,                                        )    Case No. 20-___________(___)
                                                         )
                            Debtor.                      )
                                                         )

                                  CERTIFICATION OF CREDITOR MATRIX

        Pursuant to Rule 1007-2 of the Local Rules of Bankruptcy Practice and Procedure for the United
States Bankruptcy Court for the District of Delaware, the above-captioned debtor and its affiliated debtors
in possession (collectively, the “Debtors”)4 hereby certify that the Creditor Matrix submitted herewith
contains the names and addresses of the Debtors’ creditors. To the best of the Debtors’ knowledge, the
Creditor Matrix is complete, correct, and consistent with Debtors’ books and records.

The information contained herein is based upon a review of the Debtors’ books and records as of the
petition date. However, no comprehensive legal and/or factual investigations with regard to possible
defenses to any claims set forth in the Creditor Matrix have been completed. Therefore, the listing does
not, and should not, be deemed to constitute: (1) a waiver of any defense to any listed claims; (2) an
acknowledgement of the allowability of any listed claims; and/or (3) a waiver of any other right or legal
position of the Debtors.




4      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
       identification number, are: Extraction Oil & Gas, Inc. (3923); 7N, LLC (4912); 8 North, LLC (0904); Axis
       Exploration, LLC (8170); Extraction Finance Corp. (7117); Mountaintop Minerals, LLC (7256);
       Northwest Corridor Holdings, LLC (9353); Table Mountain Resources, LLC (5070); XOG Services, LLC
       (6915); and XTR Midstream, LLC (5624). The location of the Debtors’ principal place of business is
       370 17th Street, Suite 5300, Denver, Colorado 80202.
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    Fill in this information to identify the case and this filing:

   Debtor Name          8 North, LLC

   United States Bankruptcy Court for the:                District of Delaware
                                                                                                  (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.


            Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration          List of Equity Security Holders, Corporate Ownership
            Statement, and Certification of Creditor Matrix
    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                       06/14/2020                                
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 Matthew R. Owens
                                                                                 Printed name
                                                                                 President and Chief Executive Officer
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                SECRETARY CERTIFICATE

                                          June 14, 2020

The undersigned, Eric J. Christ, as the secretary or the authorized signatory, as applicable, of,
Extraction Oil & Gas, Inc., 7N, LLC, 8 North, LLC, Axis Exploration, LLC, Extraction Finance
Corp., Mountaintop Minerals, LLC, Northwest Corridor Holdings, LLC, Table Mountain
Resources, LLC, XOG Services, LLC, and XTR Midstream, LLC (each, a “Company” and,
collectively, the “Companies”), hereby certifies as follows:

1.     I am the duly qualified and elected secretary or authorized signatory, as applicable, of the
       Companies and, as such, I am familiar with the facts herein certified and I am duly
       authorized to certify the same on behalf of the Companies.

2.     Attached hereto is a true, complete, and correct copy of the resolutions of the Companies’
       boards of directors, the manager, or sole member, as applicable (collectively,
       the “Board”), duly adopted at a properly convened and joint meeting of the Board of
       June 14, 2020, in accordance with the applicable limited liability company agreements,
       operating agreement, bylaws, or similar governing document (in each case as amended or
       amended and restated) of each Company.

3.     Since their adoption and execution, the resolutions have not been modified, rescinded, or
       amended and are in full force and effect as of the date hereof, and the resolutions are the
       only resolutions adopted by the Board relating to the authorization and ratification of all
       corporate actions taken in connection with the matters referred to therein.



                                    [Signature page follows]
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        IN WITNESS WHEREOF, I have hereunto set my hand on behalf of the Companies as of
the date hereof.

                                                 Extraction Oil & Gas, Inc.
                                                 7N, LLC
                                                 8 North, LLC
                                                 Axis Exploration, LLC
                                                 Extraction Finance Corp.
                                                 Mountaintop Minerals, LLC
                                                 Northwest Corridor Holdings, LLC
                                                 Table Mountain Resources, LLC
                                                 XOG Services, LLC
                                                 XTR Midstream, LLC


                                                 By:    ______________________________
                                                 Name: Eric J. Christ
                                                 Title: Authorized Signatory




                         [Signature Page to Secretary Certificate]
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                   RESOLUTIONS OF EXTRACTION OIL & GAS, INC.
                                 JUNE 14, 2020

       WHEREAS, pursuant to the bylaws, limited liability company agreement, or similar
governing document (in each case, as amended or amended and restated, the “Governing
Documents”) of each entity listed in Annex I hereto (each, a “Company” and, collectively,
the “Company Group”), the Board of Directors (the “Board”) of Extraction Oil & Gas, Inc. (the
“Parent”) has the authority, directly, in the case of the Parent, or by causing the Parent to act as
sole Member (as such term is defined in the applicable Governing Document) or sole stockholder,
as applicable (such capacity, the “Applicable Capacity”), to manage the business and affairs of
each Company in the Applicable Capacity;

       WHEREAS, the Board has considered certain materials presented by each Company’s
management and financial, restructuring, and legal advisors, including, but not limited to, materials
regarding the liabilities and obligations of each Company, its liquidity, strategic alternatives
available to it, and the effect of the foregoing on each Company’s business, and has had adequate
opportunity to consult such persons regarding the materials presented, obtain additional
information, and to fully consider each of the strategic alternatives available to each Company;

        WHEREAS, the Board has had the opportunity to consult with each Company’s
management and the financial, restructuring, and legal advisors and consider each of the strategic
alternatives available to each Company;

        WHEREAS, to more efficiently explore all possibilities and ensure appropriate arm’s
length in the negotiations of any and all transactions, the Board has previously established a special
committee of the Board (the “Restructuring Committee”) composed of Audrey Robertson (Chair),
Wayne Murdy, Pat O’Brien, and John Gaensbauer, and empowered and authorized the
Restructuring Committee to act on behalf of and exercise the powers of the Board regarding certain
matters described herein;

        WHEREAS, the Restructuring Committee has determined that it is in the best interest of
each Company, their creditors and other parties in interest to authorize each Company to enter into
that certain Restructuring Support Agreement (the “Restructuring Support Agreement”) by and
among each of the Companies, certain of their affiliates, certain consenting creditors, and certain
consenting parties substantially in the form presented to the Restructuring Committee on or in
advance of the date hereof;

        WHEREAS, reference is made to that certain Superpriority Senior Secured Debtor-In-
Possession Credit Agreement (together with all exhibits, schedules, and annexes thereto, as
amended, amended and restated, supplemented or otherwise modified from time to time, the “DIP
Credit Agreement”) dated as of, or about, the date hereof, by and among Parent, as the borrower
(the “Borrower”) and a debtor and debtor-in-possession under chapter 11 of the Bankruptcy
Code on substantially similar terms as that certain Extraction Oil & Gas, Inc. Non-Binding
Debtor-in-Possession DIP Financing Term Sheet and in accordance with that certain $50,000,000
Superpriority Senior Secured Debtor-in- Possession Multi-Draw Term Loan Facility Commitment
Letter, certain Companies as guarantors and as debtors and debtors-in-possession under chapter
11 of the Bankruptcy Code, Wells Fargo Bank, National Association as administrative agent (the
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“DIP Agent”), the lenders from time to time party thereto (collectively, the “DIP Lenders”), and
the other agents referred to therein;

       WHEREAS, the Borrower has requested that the DIP Lenders provide a senior secured
debtor-in-possession multi-draw term loan credit facility to the Borrower, a portion of which shall
be used to roll up revolving credit exposure of the DIP Lenders under the Prepetition Credit
Agreement (as defined in the DIP Credit Agreement);

       WHEREAS, the obligation of the DIP Lenders to make the extensions of credit to the
Borrower is subject to, among other things, the Borrower entering into the DIP Credit Agreement
and the Borrower and the other members of the Company Group satisfying certain conditions in
the DIP Credit Agreement, as applicable;

        WHEREAS, the Restructuring Committee has determined that the Borrower will obtain
benefits from the DIP Credit Agreement and that it is advisable and in the best interests of each
Company, its creditors, and other parties in interest that the Borrower enters into the DIP Credit
Agreement and performs its obligations thereunder; and

        WHEREAS, the Restructuring Committee has determined that the Borrower will obtain
benefits from the other Loan Documents (as defined in the DIP Credit Agreement, the “DIP Loan
Documents”) and that it is advisable and in the best interest of each Company, its creditors, and
other parties in interest that each Company enter into each DIP Loan Document to which it is a
party and perform its obligations thereunder, including guaranteeing the obligations of the
Borrower under the Loan Documents and granting security interests in all or substantially all of its
assets.

                                     I. CHAPTER 11 FILING

        NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Board, it is
desirable and in the best interests of each Company, its creditors, and other parties in interest, that
each Company shall be, and hereby is, authorized to file, or cause to be filed, voluntary petitions
for relief (the “Chapter 11 Cases”) under the provisions of chapter 11 of title 11 of the United
States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the District of
Delaware (the “Bankruptcy Court”);

       RESOLVED, that each Company’s officers (collectively, the “Authorized Persons”),
acting alone or with one or more other Authorized Persons be, and each of them hereby is,
authorized, empowered, and directed to execute and file on behalf of each Company all petitions,
schedules, lists, and other motions, papers, or documents (including the filing of financial
statements) as necessary to commence the Chapter 11 Cases, and to take any and all action that
they deem necessary or proper to obtain such relief, including, without limitation, any action
necessary to maintain the ordinary course operation of each Company’s business; and

II. RETENTION OF PROFESSIONALS; RESTRUCTURING SUPPORT AGREEMENT;
                   DEBTOR-IN-POSSESSION FINANCING

       FURTHER RESOLVED, that in the judgment of the Restructuring Committee, it is
desirable and in the best interests of each Company that each of the Authorized Persons be, and


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hereby is, authorized, empowered and directed to employ the law firm of Kirkland & Ellis LLP
(“Kirkland”), as each Company’s counsel, to represent and assist each Company in carrying out
its duties under the Bankruptcy Code and to take any and all actions to advance each Company’s
rights and remedies, including filing any pleadings and conducting any potential restructuring or
sale process on behalf of each Company; and, in connection therewith, each of the Authorized
Persons, with power of delegation, is hereby authorized, empowered, and directed to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain Kirkland in accordance with applicable law;

        RESOLVED, that each of the Authorized Persons be, and hereby is, authorized,
empowered, and directed to employ the firm of Whiteford Taylor Preston, LLP (“WTP”), as co-
bankruptcy counsel; and, in connection therewith, each of the Authorized Persons, with power of
delegation, is hereby authorized, empowered and directed to execute appropriate retention
agreements, pay appropriate retainers, and to cause to be filed an appropriate application for
authority to retain WTP in accordance with applicable law;

       RESOLVED, that each of the Authorized Persons be, and hereby is, authorized,
empowered, and directed to employ the firm of Alvarez & Marsal North America, LLC
(“Alvarez”), as restructuring advisor; and, in connection therewith, each of the Authorized
Persons, with power of delegation, is hereby authorized, empowered, and directed to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain Alvarez in accordance with applicable law;

        RESOLVED, that each of the Authorized Persons be, and hereby is, authorized,
empowered, and directed to employ the firm of Moelis & Company (“Moelis”), as investment
banker and financial advisor; and, in connection therewith, each of the Authorized Persons, with
power of delegation, is hereby authorized, empowered and directed to execute appropriate
retention agreements, pay appropriate retainers, and to cause to be filed an appropriate application
for authority to retain Moelis in accordance with applicable law;

       RESOLVED, that each of the Authorized Persons be, and hereby is, authorized,
empowered, and directed to employ the firm of Petrie Partners Securities, LLC (“Petrie”), as
investment banker and financial advisor; and, in connection therewith, each of the Authorized
Persons, with power of delegation, is hereby authorized, empowered and directed to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain Petrie in accordance with applicable law;

        RESOLVED, that each of the Authorized Persons be, and hereby is, authorized,
empowered, and directed to employ the firm of Kurtzman Carson Consultants LLC (“KCC”), as
notice, claims, and balloting agent and as administrative advisor to represent and assist each
Company in carrying out its duties under the Bankruptcy Code, and to take any and all actions to
advance each Company’s rights and remedies; and, in connection therewith, each of the
Authorized Persons, with power of delegation, is hereby authorized, empowered, and directed to
execute appropriate retention agreements, pay appropriate retainers, and to cause to be filed an
appropriate application for authority to retain KCC in accordance with applicable law;




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        RESOLVED, that each of the Authorized Persons be, and hereby is, authorized,
empowered, and directed to employ any other professionals to assist each Company in carrying
out its duties under the Bankruptcy Code; and in connection therewith, each of the Authorized
Persons, with power of delegation, is hereby authorized, empowered, and directed to execute
appropriate retention agreements, pay appropriate retainers and fees, and to cause to be filed an
appropriate application for authority to retain the services of any other professionals as necessary;

        RESOLVED, that each of the Authorized Persons be, and hereby is, with power of
delegation, authorized, empowered, and directed to execute and file all petitions, schedules,
motions, lists, applications, pleadings, and other papers and, in connection therewith, to employ
and retain all assistance by legal counsel, accountants, financial advisors, and other professionals
and to take and perform any and all further acts and deeds that each of the Authorized Persons
deem necessary, proper, or desirable in connection with the Company’s Chapter 11 Cases, with a
view to the successful prosecution of such cases;

       RESOLVED, that each of the Authorized Persons, acting alone or with one or more other
Authorized Persons be, and they hereby are, authorized and empowered to enter into the
Restructuring Support Agreement on behalf of each Company, as applicable, in each case, in the
form or substantially in the form thereof submitted to the Restructuring Committee, with such
changes, additions and modifications thereto as the Authorized Person executing the same shall
approve, such approval to be conclusively evidenced by such Authorized Person’s execution and
delivery thereof;

       RESOLVED, that each of the Authorized Persons, acting alone or with one or more other
Authorized Persons be, and they hereby are, authorized and empowered to take or cause to be
taken any and all such other and further action, and to execute, acknowledge, deliver, and file any
and all agreements, certificates, instruments and other documents in furtherance of the
Restructuring Support Agreement, in the form or substantially in the form thereof submitted to the
Restructuring Committee, with such changes, additions and modifications thereto as the
Authorized Person executing the same shall approve, such approval to be conclusively evidenced
by such Authorized Person’s execution and delivery thereof;

       RESOLVED, that each of the Authorized Persons be, and hereby are, authorized, directed
and empowered in the name of, and on behalf of, each Company, to execute and deliver any
documents or to take other actions which shall in their sole judgment be necessary, desirable,
proper or advisable to give effect to the foregoing resolutions, which determination shall be
conclusively evidenced by their execution thereof.

        RESOLVED, that the form, terms, and provisions of the DIP Credit Agreement and each
other DIP Loan Document, and the transactions contemplated by the DIP Credit Agreement
(including, without limitation, the borrowings thereunder) and each other DIP Loan Document,
the transactions contemplated therein, and the guarantees, liabilities, obligations, security interests
granted, and notes issued, if any, in connection therewith, be and hereby are authorized, adopted,
and approved;

        RESOLVED, that the Borrower’s execution and delivery of, and the performance of its
obligations (including guarantees) in connection with, the DIP Credit Agreement and the other


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DIP Loan Documents, are hereby, in all respects, authorized and approved; and further resolved,
that each of the Authorized Persons, is hereby authorized, empowered and directed to negotiate
the terms of and to execute, deliver and perform under the DIP Credit Agreement and the other
DIP Loan Documents and any and all other documents, certificates, instruments, agreements,
intercreditor agreements, security agreements, pledge agreements, guarantees, mortgages, deeds
of trust and any amendment or any other modification of any of the foregoing (collectively, the
“Related Documents”) required to consummate the transactions contemplated by the DIP Credit
Agreement and any other DIP Loan Document in the name and on behalf of the Borrower, in the
form approved, with such changes therein and modifications and amendments thereto as any of
the Authorized Persons may in his or her sole discretion approve, which approval shall be
conclusively evidenced by his or her execution thereof. Such execution by any of the Authorized
Persons is hereby authorized to be by facsimile, emailed, engraved, or printed as deemed necessary
and preferable;

        RESOLVED, that each of the Authorized Persons, acting alone or with one or more
Authorized Persons, be, and hereby are, authorized, empowered and directed in the name of, and
on behalf of, the Borrower to seek authorization to enter into the DIP Credit Agreement and each
other DIP Loan Document and to seek approval of the use of cash collateral pursuant to a
postpetition financing order in interim and final form, and any Authorized Person be, and hereby
is, authorized, empowered, and directed to negotiate, execute, and deliver or cause to be delivered,
and to cause the performance of, any swap agreement, and any other commodity, interest rate,
foreign exchange or currency exchange agreement, or other hedging agreement or arrangement,
and any and all transactions of any kind and the related confirmations, which are subject to the
terms and conditions of, or governed by, any form of master agreement published by the
International Swaps and Derivatives Association, Inc., any Foreign Exchange Master Agreement
or any other master agreement, and any and all agreements, instruments, or documents, by or on
behalf of the Borrower, necessary to implement the postpetition financing, including providing for
adequate protection in accordance with section 363 of the Bankruptcy Code, as well as any
additional or further agreements for entry into the DIP Credit Agreement and each other DIP Loan
Document and the use of cash collateral in connection with the Company Group’s Chapter 11
Cases, which agreements may require the Borrower to grant adequate protection and liens to the
Borrower’s DIP Lenders and other lenders and each other agreement, instrument, or document to
be executed and delivered in connection therewith, by or on behalf of the Borrower pursuant
thereto or in connection therewith, all with such changes therein and additions thereto as any
Authorized Person approves, such approval to be conclusively evidenced by the taking of such
action or by the execution and delivery thereof by such Authorized Person or that such Authorized
Person deemed such standard to be met;

        RESOLVED, that (i) the form, terms, and provisions of the DIP Credit Agreement and all
other DIP Loan Documents to which any Company is a party, (ii) the grant of security interests in,
pledges of, and liens on all or substantially all of the assets now or hereafter owned by any
Company as collateral (including pledges of equity, real property and personal property as
collateral) under the DIP Loan Documents, and (iii) the guarantee of the Borrower’s obligations
by any Company under the DIP Loan Documents, from which the Borrower will derive value, in
each case, be and hereby are, authorized, adopted, and approved, and any Authorized Person or
other officer of any Company is hereby authorized, empowered, and directed, in the name of and
on behalf of the Borrower or such other Company, to take such actions and negotiate or cause to


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be prepared and negotiated and to execute, deliver, perform, and cause the performance of, each
of the transactions contemplated by the DIP Credit Agreement, substantially in the form provided
to the Restructuring Committee, the DIP Loan Documents and such other agreements, fee letters,
commitment letters, certificates, instruments, receipts, petitions, motions, or other papers or
documents to which any Company is or will be a party or any order entered into in connection
with the Chapter 11 Cases (collectively with the DIP Credit Agreement, the other DIP Loan
Documents and the Related Documents, the “Financing Documents”), incur and pay or cause to
be paid all related fees and expenses, with such changes, additions, and modifications thereto as
an Authorized Person executing the same shall approve;

        RESOLVED, that the Borrower, as debtor and debtor-in-possession under the Bankruptcy
Code be, and hereby is, authorized, empowered, and directed to incur any and all obligations and
to undertake any and all related transactions on substantially the same terms as contemplated under
the Financing Documents (collectively, the “Financing Transactions”), including granting liens on
its assets to secure such obligations and the refinancing of the obligations outstanding pursuant to
the Prepetition Credit Agreement (as defined in the DIP Credit Agreement);

         RESOLVED, that each of the Authorized Persons be, and hereby is, authorized,
empowered, and directed in the name of, and on behalf of, the Borrower as debtor and debtor in
possession, to take such actions as in its discretion is determined to be necessary, desirable, or
appropriate to execute, deliver, and file: (a) the Financing Documents and such agreements,
certificates, instruments, guaranties, notices, and any and all other documents, including, without
limitation, any amendments, supplements, modifications, renewals, replacements, consolidations,
substitutions, and extensions of any Financing Documents, necessary, desirable, or appropriate to
facilitate the Financing Transactions; (b) merchant card services, purchase or debit cards, including
non-card e-payable services; (c) all petitions, schedules, lists, and other motions, papers, or
documents, which shall in its sole judgment be necessary, proper, or advisable, which
determination shall be conclusively evidenced by his/her or their execution thereof; (d) such other
instruments, certificates, notices, assignments, and documents as may be reasonably requested by
the DIP Agent and other parties in interest; and (e) such forms of deposit account control
agreements, officer’s certificates, and compliance certificates as may be required by the Financing
Documents;

        RESOLVED, that each of the Authorized Persons be, and hereby is, authorized,
empowered, and directed in the name of, and on behalf of, the Borrower, as debtor and debtors in
possession, to file or to authorize the DIP Agent to file any Uniform Commercial Code (“UCC”)
financing statements, any other equivalent filings, any intellectual property or real estate filings
and recordings, and any necessary assignments for security or other documents in the name of the
Borrower that either DIP Agent deems necessary or appropriate to perfect any lien or security
interest granted under the Financing Documents, including any such UCC financing statement
containing a generic description of collateral, such as “all assets,” “all property now or hereafter
acquired,” and other similar descriptions of like import, and to execute and deliver, and to record
or authorize the recording of, such mortgages and deeds of trust in respect of real property of the
Company Group and such other filings in respect of intellectual and other property of the Company
Group, in each case as the DIP Agent may reasonably request to perfect the security interests of
the DIP Agent under the Financing Documents;



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        RESOLVED, that each of the Authorized Persons be, and hereby is, authorized,
empowered and directed in the name of, and on behalf of, the Company Group to take all such
further actions, including, without limitation, to pay or approve the payment of all fees and
expenses payable in connection with the Financing Transactions and all fees and expenses incurred
by or on behalf of the Company Group in connection with the foregoing resolutions, in accordance
with the terms of the Financing Documents, which shall in their reasonable business judgment be
necessary, proper, or advisable to perform the Company Group’s obligations under or in
connection with the Financing Documents or any of the Financing Transactions and to fully carry
out the intent of the foregoing resolutions;

        RESOLVED, that each of the Authorized Persons be, and hereby is, authorized,
empowered and directed in the name of, and on behalf of, the Company Group, to execute and
deliver any amendments, supplements, modifications, renewals, replacements, consolidations,
substitutions, and extensions of the postpetition financing or any of the Financing Documents or
to do such other things which shall in their sole judgment be necessary, desirable, proper, or
advisable to give effect to the foregoing resolutions, which determination shall be conclusively
evidenced by his/her or their execution thereof;

        RESOLVED, that to the extent that any Company serves as the sole member, general
partner, managing member, equivalent manager, or other governing body of any limited liability
company, corporation or partnership (each such entity, a “Controlled Company”), each Authorized
Person, as applicable, is authorized, empowered and directed to take each of the actions described
in these resolutions or any of the actions authorized by these resolutions on behalf of the applicable
Controlled Company;

                                          III. GENERAL

        RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Authorized Persons, each of the Authorized Persons (and their designees and delegates) be, and
they hereby are, authorized, empowered, and directed, in the name of and on behalf of the
Company Group, to take or cause to be taken any and all such other and further action, and to
execute, acknowledge, deliver, and file any and all such agreements, certificates, instruments, and
other documents and to pay all expenses, including but not limited to filing fees, in each case as in
such officer’s or Authorized Persons’ judgment, shall be necessary, advisable or desirable in order
to fully carry out the intent and accomplish the purposes of the resolutions adopted herein;

       RESOLVED, that each of the Authorized Persons be, and hereby is, authorized and
empowered to take or cause to be taken in the name and on behalf of the Company Group, any all
such other and further action to carry out the intent and accomplish the purposes of the resolutions
adopted herein as such purposes related to the Company Group;

        RESOLVED, that the Company Group, the Restructuring Committee and the Board have
received sufficient notice of the actions and transactions relating to the matters contemplated by
the foregoing resolutions, as may be required by the Governing Documents, or hereby waive any
right to have received such notice;




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        RESOLVED, that all acts, actions, and transactions relating to the matters contemplated
by the foregoing resolutions done in the name of and on behalf of the Company Group, which acts
would have been approved by the foregoing resolutions except that such acts were taken before
the adoption of these resolutions, are hereby in all respects approved and ratified as the true acts
and deeds of the Company Group with the same force and effect as if each such act, transaction,
agreement, or certificate has been specifically authorized in advance by resolution of the Board or
Restructuring Committee, as applicable; and

       RESOLVED, that each of the Authorized Persons (and their designees and delegates) be,
and hereby is, authorized, empowered, and directed to take all actions, or to not take any action in
the name of the Company Group, with respect to the transactions contemplated by these resolutions
hereunder, as such Authorized Person shall deem necessary or desirable in such Authorized
Person’s reasonable business judgment, as may be necessary or convenient to effectuate the
purposes of the transactions contemplated herein; and

       RESOLVED, that this consent may be executed in any number of counterparts, each of
which shall be deemed to be an original, and such counterparts shall constitute but one and the
same consent.



                                             *****




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                                      Annex I

                                   Company Group

                 Company                                    Jurisdiction

Extraction Oil & Gas, Inc.                 Delaware


Mountaintop Minerals, LLC                  Delaware


Table Mountain Resources, LLC              Delaware


Extraction Finance Corp.                   Delaware


XTR Midstream, LLC                         Delaware


7N, LLC                                    Delaware


8 North, LLC                               Delaware


Axis Exploration, LLC                      Delaware


XOG Services, LLC                          Delaware


Northwest Corridor Holdings, LLC           Delaware
